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                             UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA


In re: Oil Spill by the Oil Rig                            MDL No. 2179
       “Deepwater Horizon” in the Gulf
       Of Mexico, on April 20, 2010
                                                           SECTION: J

                                                           JUDGE BARBIER
This Document applies to:
All Cases.                                                 MAGISTRATE SHUSHAN



                                             ORDER

       Transocean has made a Motion for a Protective Order pursuant to Rule 26(c) of the

Federal Rules of Civil Procedure.

       Having considered the Motion submitted, the Court is of the opinion that its intervention

in this case is necessary for good cause shown based upon Transocean’s contractual right to

arbitrate pursuant to the Drilling Contract. Therefore, it is hereby:



       1.      ORDERED, ADJUDGED, and DECREED that Transocean’s Motion is

                       1.      GRANTED, and Transocean is not under compulsion to respond

               to discovery requests propounded by BP, Anadarko and MOEX touching upon

               matters which are subject to contractual arbitration between BP and Transocean;

               or
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                        2.      DENIED; and Transocean is under compulsion to respond to

                 discovery requests propounded by BP, Anadarko and MOEX, but by so

                 responding under compulsion does not waive its contractual rights to arbitrate

                 pursuant to the Drilling Contract;



       2.        IT   IS     FURTHER      ORDERED,     ADJUDGED,        and   DECREED        that

Transocean’s request for leave to serve discovery of its own beyond the current deadline of April

29, 2011, set by Order of the Court, is GRANTED / DENIED;



       3.        IT IS FURTHER ORDERED, ADJUDGED, and DECREED that all relief not

expressly granted is denied.



       Signed this _____ day of ______________, 2011.



                                ____________________________________________________
                                UNITED STATES MAGISTRATE JUDGE SALLY SHUSHAN




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